                                                                       ORDERED ACCORDINGLY.


                                                                       Dated: May 31, 2016

      Chris D. Barski (No. 024321)
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 5
 6                                UNITED STATES BANKRUPTCY COURT

 7                                           DISTRICT OF ARIZONA

 8     In re
                                                         Chapter 11 Proceedings
 9     NILES LIPIN,
                                                         Case No.: 2:11-bk-26500-GBN
10                  Debtor.
                                                         ORDER CONFIRMING DEBTOR’S
11
                                                         SECOND AMENDED CHAPTER 11
12                                                       PLAN
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14
15             This matter having come before the Court for hearing on the Debtor’s Second
16    Amended Plan of Reorganization (the “Plan”) and having determined at the confirmation
17    hearing upon notice to all creditors and parties in interest that the requirements for
18    confirmation set forth under 11 U.S.C. 1129(a) and 11 U.S.C. § 1129(b) are satisfied.
19             IT IS HEREBY ORDERED as follows:
20             1.       The Debtor’s Plan of Reorganization, a copy of which is attached hereto as
21    Exhibit “1”, shall be and hereby is confirmed by the Court.
22             2.       The Debtor is authorized and empowered to do all acts and execute all
23    documents necessary to implement the Plan and the occurrence of the Effective Date.
24             3.       Any objections to confirmation of the Plan shall be, and hereby are, overruled
25    and denied by the Court.
26             4.       Any signed stipulations are hereby incorporated into the Plan.
27                                                        DATED AND SIGNED ABOVE.
28     APPROVED AS TO FORM:



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 1    The Keating Law Firm PLC
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